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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF OHIO
                                    EASTERN DIVISION

RICHARD HORTON,
                                                    Case No. 2:23-cv-3888
                                                    Judge Algenon L. Marbley
       Plaintiff,                                   Magistrate Judge Elizabeth P. Deavers

       v.


CITY OF COLUMBUS, et al.,

       Defendants.

                                   SHOW CAUSE ORDER

       By Order dated June 11, 2024, Plaintiff was granted an extension of time until August 5,

2024, to complete service on Mieko Sias, as the personal representative of the Estate of Sam

Sias. (ECF No. 26.) It is not apparent from the Court’s docket that service of process has been

completed on this Defendant.

       Accordingly, Plaintiff is ORDERED TO SHOW CAUSE WITHIN FOURTEEN (14)

DAYS OF THE DATE OF THIS ORDER why the action should not be dismissed as to this

Defendant and why any additional extension of time to effect service on this Defendant should

be allowed. The good cause showing should be supported with sworn affidavits.

       IT IS SO ORDERED.

Date: September 6, 2024                         /s/ Elizabeth A. Preston Deavers
                                            ELIZABETH A. PRESTON DEAVERS
                                            UNITED STATES MAGISTRATE JUDGE
